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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                                                      §
                                                                §   Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §
                                    Plaintiff,                  §   Adversary Proceeding No.
                                                                §
    vs.                                                         §   21-03004-sgj
                                                                §
    HIGHLAND CAPITAL MANAGEMENT FUND                            §
    ADVISORS, L.P.                                              §
                                                                §
                                    Defendant.
1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                       PLAINTIFF’S SECOND AMENDED
          NOTICE OF SERVICE OF A SUBPOENA TO DENNIS C. SAUTER, JR.

         PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, made applicable herein by Rule 9016 of the Federal Rules of Bankruptcy Procedure,

Plaintiff Highland Capital Management, L.P., by and through its undersigned counsel, caused a

Subpoena to Appear and Testify at a Deposition in a Bankruptcy Case (or Adversary Proceeding),

a copy of which is attached as Exhibit A, to be served upon Dennis C. Sauter, Jr. for the

production of documents and a virtual appearance at a deposition on November 17, 2021

commencing at 9:30 a.m. (Central Time) or at such other day and time as Plaintiff may agree in

writing. The deposition will be taken under oath before a notary public or other person authorized

by law to administer oaths and will be visually recorded by video or otherwise.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.




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 Dated: November 1, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

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                                   Ira D. Kharasch (CA Bar No. 109084)
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                                   -and-
                                   HAYWARD PLLC

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                                   Counsel for Highland Capital Management, L.P.




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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)



                                        UNITED STATES BANKRUPTCY COURT
                                                                  NORTHERN District of TEXAS
In re HIGHLAND CAPITAL MANAGEMENT, L.P.
                    Debtor
                                                                                             Case No. 19-34054-sgj11
          (Complete if issued in an adversary proceeding)
                                                                                             Chapter 11
Highland Capital Management, L.P.,
                       Plaintiff
                         v.                                                                  Adv. Proc. No. 21-3004
Highland Capital Management Fund Advisors, L.P.,

                                    Defendant
                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Dennis C. Sauter, Jr., c/o, Davor Rukavina, Munsch, Hardt, Kopf & Harr, P.C., 500 N. Akard Street, Suite 3800,
       Dallas, TX 75201
                                                           (Name of person to whom the subpoena is directed)
     Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
  deposition to be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must
  designate one or more officers, directors, or managing agents, or designate other persons who consent to testify on
  your behalf about the following matters: the claims and affirmative defenses asserted in the above-referenced
  adversary proceeding.
 PLACE                                                                          DATE AND TIME
  Deposition will be conducted virtually through Zoom                           November 17, 2021 at 9:30 a.m. (CT)
 The deposition will take place before a court reporter and will be recorded by stenographic means, may be
 videotaped, and shall continue from day to day until it has been completed.
      Production: YOU ARE COMMANDED to produce and permit inspection and copying of the following
 documents or object at the place, date and time specified below: See Exhibit A, November 15, 2021 by 2 p.m.
 (CT)
 The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person
 subject to a subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential
 consequences of not doing so.

 Date: November 1, 2021
                       CLERK OF COURT
                                                                                     OR
                                                                        /s/ John A. Morris
                           Signature of Clerk or Deputy Clerk             Attorney’s signature
                                                                     John A. Morris, Esq.
 The name, address, email address, and telephone number of the attorney representing (name of party)
Highland Capital Management, L.P , who issues or requests this subpoena, are:
John A. Morris, Esq., Pachulski Stang Ziehl & Jones LLP, 780 Third Ave., 34th Fl, New York, NY 10017
                                Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or
  the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it
  is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                           American LegalNet, Inc.
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)




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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
on (date)             .

   I served the subpoena by delivering a copy to the named person as follows:


Davor Rukavina, Munsch, Hardt,, Kopf & Harr, P.C., 500 N. Akard Street, Suite 3800, Dallas, TX 75201
                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                                  Server’s signature



                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
    (A) When Required. On timely motion, the court for the district where             preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
      (i) fails to allow a reasonable time to comply;                                 notified, a party must promptly return, sequester, or destroy the specified
      (ii) requires a person to comply beyond the geographical limits                 information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

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                                            EXHIBIT A

                                        INSTRUCTIONS

               1.      For each Document (as defined below) withheld by reason of a claim of

privilege, provide a privilege log identifying such Document together with: (a) the date of the

Document; (b) the identity of the author or preparer; (c) the identity of each person who was sent

or furnished with the Document or who received or had possession or custody of the document;

(d) a description of the Document, including identification of any attachments or appendices; (e)

a statement of the basis of the claim of privilege; and (f) the paragraph of this request to which

the document is responsive. In the case of Documents concerning a meeting or conversation,

identify all participants in the meeting or conversation.

               2.      Each Document shall be produced in a fashion that indicates clearly the file

in which it was located.

               3.      If a Document cannot be produced in full, produce it to the extent possible,

identify the portion that cannot be produced, and specify the reasons for Your (as defined below)

inability to produce the remainder.

               4.      You are required to produce ESI (as defined below) in searchable form on

DVDs, CD-ROMs or other media to be mutually agreed by the parties.

               5.      Documents may be produced in paper format or electronically.              If

Documents are produced electronically, or if any ESI is produced, the following formatting should

be used:

                   Use .tif format for all Documents that were not originally in Excel format, in

                    which case, use .xls or .xlsx format;
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                   If possible, without creating undue delay, please produce Documents in

                    Summation-ready DVDs, CD-ROMs or other media to be mutually agreed by

                    the parties with .tiff and text format, and with a Summation load file; and

                   Transmit electronic Documents or ESI on DVDs, CD-ROMs or other media to

                    be mutually agreed by the parties or use an ftp site upload.

               6.      These Requests shall be deemed continuing and supplemental answers

shall be required if You directly or indirectly obtain further information after Your initial response

to these Requests as required by Fed. R. Bank. P. 7026(e).

               7.      The use of either the singular or plural shall not be deemed a limitation.

The use of the singular includes the plural, and vice versa.

               8.      Unless otherwise noted, the requests for documents set forth herein seeks

Documents and Communications created between January 1, 2018 and the date of Your

responses to these Requests.

               9.      Be advised that pursuant to agreed-upon Stipulations that have been

approved by the United States Bankruptcy Court for the Northern District of Texas, the documents

produced and the testimony provided in response to this subpoena can be utilized in any of the

Adversary Proceedings (as that terms is defined below). See, e.g., Adv. Pro. 21-03004, Docket

No. 68

                                          DEFINITIONS

               1.      “Adversary Proceeding” refers to Adversary Proceeding No. 21-03004

pending in the above-referenced bankruptcy case.

               2.      “Alleged Agreement” refers to the alleged oral agreement between James

Dondero and “Nancy Dondero, as representative for a majority of the Class A shareholders of



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Plaintiff,” described in, among other places, paragraph 82 of Defendant James Dondero’s Answer

to Amended Complaint lodged in Adv. Pro. 21-03003 at Docket No. 83.

               3.      “Amended Answer” means Defendant’s Amended Answer lodged in the

Adversary Proceeding at Docket No. 48.

               4.      “Complaints” refers to, individually and collectively, the Complaints, as

may have been amended, lodged as follows in the Adversary Proceedings: Adv. Pro. 21-03003,

Docket No. 79; Adv. Pro. 21-03004; Docket No. 1; Adv. Pro. 21-03005, Docket No. 63; Adv.

Pro. 21-03006, Docket No. 68; and Adv. Pro. 21-03007, Docket No. 63.

               5.      “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

pagers, memoranda, and any other medium through which any information is conveyed or

transmitted.

               6.      “Concerning” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

               7.      “Document” means and includes all written, recorded, transcribed or

graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

intangible thing or item that contains any information. Any Document that contains any comment,




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notation, addition, insertion or marking of any type or kind which is not part of another Document,

is to be considered a separate Document.

               8.      “Notes” means, individually and collectively, the promissory notes that are

the subject of the claims asserted in the Adversary Proceeding.

               9.      “Person” is intended to have the broadest possible meaning and includes

an individual, corporation, trust, limited liability company, limited partnership, limited liability

partnership, partnership or any other foreign or domestic entity not specifically identified herein.

               10.     “Sauter Declaration” means the Declaration of Dennis C. Sauter, Jr.

lodged in the Adversary Proceeding at Docket No. 32-1.

               11.     “You” or “Your” means Frank Waterhouse and anyone authorized to act

on Mr. Waterhouse’s behalf.

                                       DOCUMENT REQUESTS

        Request No. 1:

       All Documents Concerning any of the Notes.

       Request No. 2:

       All Communications between You and any other Person Concerning any of the Notes.

       Request No. 3:

       All Documents Concerning any Affirmative Defense asserted by HCMFA in its

Amended Answer.

       Request No. 4:

       All Communications Concerning any Affirmative Defense asserted by HCMFA in its

Amended Answer.

       Request No. 5:



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       To the extent not responsive to any prior request, all Documents Concerning the Alleged

Agreement.

       Request No. 6:

       To the extent not responsive to any prior request, all Communications Concerning the

Alleged Agreement.

       Request No. 7:

       All Documents and Communications Concerning the Sauter Declaration, including but

not limited to all Documents reviewed by You before You executed the Sauter Declaration.

       Request No. 8:

       All agreements between You and any entity you know or have reason to believe is

directly or indirectly owned and/or controlled by James Dondero and/or Scott Ellington,

including but not limited to indemnification agreements.




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